
USCA1 Opinion

	















                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                     ____________
          No. 95-1677

                                 WILLIAM E. DONOGHUE,

                                Plaintiff - Appellant,

                                          v.

                        IBC USA (PUBLICATIONS), INC., ET AL.,

                               Defendants - Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Reginald C. Lindsay, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                            Bownes, Senior Circuit Judge,
                                    ____________________

                             and Keeton,* District Judge.
                                          ______________

                                _____________________

               Michael Arthur Walsh, with whom James S. Shorris and Choate,
               ____________________            ________________     _______
          Hall &amp; Stewart were on brief for appellant.
          ______________
               Steven S. Konowitz,  with whom Konowitz  &amp; Greenberg was  on
               __________________             _____________________
          brief for appellees.



                                 ____________________

                                  November 28, 1995
                                 ____________________
                              
          ____________________

          *  Of the District of Massachusetts, sitting by designation.
















                    KEETON, District Judge.   This is an  appeal by William
                    KEETON, District Judge
                            ______________

          E. Donoghue ("Donoghue"), Plaintiff-Appellant, from a Preliminary

          Injunction of limited  scope.  Donoghue asserts that the district

          court erred in its  interpretation of contract documents executed

          by the parties and asks this court to expand relief to, or nearer

          to, the  full scope  he  requested in  the  district court.    We

          conclude that if the  district court committed any error  of law,

          the error was  harmless in relation  to the issues  before us  in

          this appeal.  Also, we conclude  that the district court did  not

          abuse  its discretion  in  fashioning the  limited  scope of  the

          Preliminary Injunction entered.  We therefore affirm the district

          court's order.

                    To avoid uncertainty that  might otherwise exist  about

          the  effect of the district court's order (and our affirmance) on

          further proceedings in this  case, we explicitly state  the bases

          of  our affirmance and explicitly note certain conclusions of the

          district  court upon  which we  do not  rely.   These conclusions
                                             ___

          relate  to  issues that  are  at  least potentially  mixed-legal-

          factual issues that would be  more appropriately decided, both in

          the district court  and on appeal, after  the parties have  had a

          full  opportunity  for  discovery  and  development  of  evidence

          bearing upon the factual elements of the legal-factual mix.  They

          are  open to de novo  consideration in the  district court during
                       _______

          further proceedings there, as well as on appeal.




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                                 I.  Background Facts
                                 I.  Background Facts

          A.  Before July 1989
          A.  Before July 1989

                    Donoghue  is  an investment  adviser  well-known  as an

          expert on money  markets and mutual  funds.  Acting  individually

          and through  a  number of  corporate  entities, he  has  marketed

          advice for more than twenty years in books, newsletters, columns,

          on-line services, and  public appearances.   One of his  business

          entities  was The  Donoghue Organization,  Inc., a  Massachusetts

          corporation  of which  Donoghue was  the sole  stockholder.   Its

          flagship publication was  Donoghue's MoneyLetter--a  semi-monthly
                                    ______________________

          newsletter introduced by  Donoghue in 1980.   In 1986, Donoghue's
                                                                 __________

          MoneyLetter was voted "Best Financial Advisory Newsletter" by the
          ___________

          Newsletter Association.



          B.  Documents Dated July 28, 1989
          B.  Documents Dated July 28, 1989


                    Simultaneously,  two documents  were executed.   Though

          signed by Donoghue  in September 1989, these agreements were made

          "as  of"  July 28, 1989.   They  were  called the  Stock Purchase

          Agreement ("SPA")  and the Personal Services  and Non-Competition

          Agreement ("PSA").

                    The Stock Purchase Agreement  was signed by Donoghue as

          sole shareholder of The Donoghue  Organization, Inc. and Mary Ann

          Bonomo as Vice  President of IBC  USA (Publications), Inc.  ("IBC

          USA").  Under the  terms of the SPA, Defendant-Appellant  IBC USA

          purchased  all 10,000  shares  of Common  Stock  of The  Donoghue

          Organization, Inc. from Donoghue for $2,000,000.

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                    The Personal Services and Non-Competition Agreement was

          also signed  by Donoghue and Mary Ann Bonomo.  Under the terms of

          the  PSA,  Donoghue  became  a  part-time  employee  of IBC  USA,

          agreeing  to devote approximately  one-third of  his professional

          time  to  editorial,  promotional,  and  other  activities mainly

          involving the MoneyLetter publication.   The initial term of  the
                        ___________

          PSA was set at five years, with one five-year extension available

          at the option of IBC USA.

                    A central subject of dispute  in this litigation is the

          scope and extent of the right of IBC USA and its new wholly owned

          subsidiary, IBC/Donoghue, Inc., also a Defendant-Appellee, to use

          Donoghue's  name.   The  contractual  rights  of the  Defendants-

          Appellees are controlled by the SPA and the PSA.

                    A provision of the SPA declares:

                      The rights  to use  the name  "William E.
                      Donoghue"  and  variations  thereof  have
                      always  been the  property of  the Seller
                      [Donoghue], not the Company [The Donoghue
                      Organization,  Inc.],  and  Buyer's  [IBC
                      USA's] rights to the use of such name are
                      governed   by   the   Personal   Services
                      Agreement.

          SPA cl. 3(m).

                    The  PSA  elaborates  on the  rights  to  use the  name

          "William E. Donoghue" stated above in  the SPA.  The relevant PSA

          provision appeared  as one  long paragraph, reproduced  here with

          bracketed  insertions and  spacing that we  have inserted  to aid

          reading.

                      Use of Employee's Name.  In consideration
                      ______________________
                      of the payment of the amounts provided on
                      Exhibit  11  hereto [royalty  payments of

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                      $1,000  per  year  plus a  cost-of-living
                      adjustment  in years  4  and 5],  IBC/USA
                      shall have the right  until July 29, 1994
                      to use the  name William E.  Donoghue and
                      variations  thereof  on or  in connection
                      with any and all of the existing products
                      and services of  IBC/USA or The  Donoghue
                      Organization, Inc.

                      now bearing that name 

                      and  any other  products and  services of
                      IBC/USA  or  The  Donoghue  Organization,
                      Inc. developed hereafter during  the term
                      of the Personal Services Agreement;

                      provided, however, that  for products  or
                      services developed after the  date hereof
                      during  the  term   of  this   Agreement,
                      IBC/USA shall obtain  the approval of the
                      Employee to  the  use of  the  Employee's
                      name  as  aforesaid, and  Employee agrees
                      that   such   approval   shall   not   be
                      unreasonably   withheld   and  shall   be
                      granted for products and  services unless
                      Employee  reasonably  explains that  such
                      products or services would violate clause
                      8 [the non-competition  clause] or  would
                      not be consistent  with the provisions of
                      Exhibit 12 [Donoghue's written investment
                      philosophy] or of a quality comparable to
                      that  of  other  IBC/USA   or  affiliated
                      products    or   services    then   using
                      Employee's name.

                      Upon notice given by IBC/USA  to Employee
                      on or  before July 29,  1993, and whether
                      or  not the  term  of  this Agreement  is
                      otherwise  extended  pursuant  to  clause
                      2(b)[the  five  year extension  option of
                      IBC USA], after July  29, 1994 and  until
                      July 29, 1999, IBC/USA shall  continue to
                      have the right so to use the name William
                      E.  Donoghue  and variations  thereof, as
                      described above, subject to  the protocol
                      set forth in Exhibit 12

                      and provided (i) that employee  will have
                      a   right  to   sit  on   the  investment
                      committee and (ii) that IBC/USA shall pay
                      or  cause  to  be  paid  to  the Employee
                      royalties  at  the rate  of  five percent

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                      (5%) of gross revenues actually received,
                      net of refunds and cancellations,

                      from  the  sale  during  such  period  of
                      products and services including such name
                      in the name thereof.  
                                       . . . .

                      On January 2, 2000 (or January 2, 1995 if
                      IBC/USA  fails to  exercise the  right to
                      continue  to  use  the Donoghue  name  as
                      provided   herein),  IBC/USA   agrees  to
                      assign  all  of its  residual  rights, if
                      any, to use the name William  E. Donoghue
                      or   any   variation   thereof   in   any
                      registered or  unregistered trademark, to
                      Employee, provided that an  agreement for
                      continued use  by  IBC/USA has  not  been
                      concluded,  but  nothing herein  shall be
                      deemed  to  grant  any  right,  title  or
                      interest,  or any agreement  to grant any
                      right,  title or interest, to Employee in
                      or  to any  name  or mark  (registered or
                      unregistered)  or   portion  thereof  not
                      constituting the name William E. Donoghue
                      or a variation thereof.


          PSA  cl. 11.  The  dispute between the  parties centers primarily

          upon the interpretation of this clause and relevant statutes.



          C.  Developments Before Amendment of the PSA on July 21, 1994
          C.  Developments Before Amendment of the PSA on July 21, 1994

                    Notwithstanding the currently  alleged deficiencies  in

          the  clarity  and specificity  of  the SPA  and  PSA, and  in the

          performance of each party under these agreements, the first five-

          year term of the PSA passed relatively uneventfully.  During this

          term,  IBC  USA  changed  the  corporate  name  of  The  Donoghue

          Organization,  Inc. to  IBC/Donoghue, Inc.;  Donoghue contributed

          articles  to Donoghue's MoneyLetter  and performed  various other
                       ______________________

          duties under terms of the PSA.


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                    According  to clause  2(b)  of  the  PSA, IBC  USA  was

          required to give notice  to Donoghue one year before the last day

          of  the term of the PSA if IBC  USA wished to exercise its option

          to extend the term of  the PSA for an additional five  years.  In

          early July of  1993, before  the one-year benchmark  of July  28,

          1993, IBC  USA initiated discussions with  Donoghue regarding the

          possibility  of  amending the  PSA  before extending  it  for the

          additional five-year term.

                    IBC  USA  proposed   to  restructure  the  compensation

          provisions of the PSA, primarily to eliminate the 5% royalty that

          would have first begun  to accrue when the second  five-year term

          commenced.   In  return,  IBC USA  proposed  to increase  various

          incentive payments to  Donoghue, based on the number of telephone

          inquiries generated by his columns, appearances, and  books.  The

          record  is  unclear  about  how this  proposal,  or  negotiations

          relating to it, proceeded or whether any progress was made toward

          amending the PSA.

                    In any event,  on July  16, 1993, IBC  USA gave  formal

          notice  to Donoghue of its  desire to exercise  its options under

          clauses 2(b)  and 11 of the PSA to extend, for an additional five

          years,  to July 29, 1999,  the term of  (1) Donoghue's employment

          and (2) the license to use his name.



          D.   Amendment of the  PSA on  July 21, 1994  and the Failure  of
          D.   Amendment of the  PSA on  July 21, 1994  and the Failure  of
               Negotiations
               Negotiations

                    Negotiations   regarding  an   amendment  of   the  PSA

          continued as the first five-year term was coming to a  close.  On

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          July 21, 1994, just before the end of the initial five-year  term

          of the PSA, the parties executed a modification of the agreement.

          This modification extended for one month the time period in which

          IBC USA could use Donoghue's name without paying the 5% royalty:

                    IBC/USA will  continue to have  the right  to
                    use   the  name   William  E.   Donoghue  and
                    variations thereof  on or in  connection with
                    the  existing  products  of  IBC/USA  without
                    payment of the stated 5% royalty until August
                    31, 1994.

          App.  at 00062.   In return for this  concession, IBC USA allowed

          Donoghue  to send his  employees to  IBC USA's  weekly Donoghue's
                                                                 __________

          MoneyLetter  Investment Committee  meetings during  the  month of
          ___________

          August, 1994.

                    This interim  provision delaying  the time when  the 5%

          royalty payments would begin to  accrue was itself modified, with

          Donoghue's consent.   The  commencing date when  royalty payments

          would  begin  was  moved  to  October  31,  1994.    Negotiations

          regarding  a  permanent  amendment  to  the  PSA,  however,  were

          unsuccessful.  The  parties never agreed to any further amendment

          of the PSA.

                    As the  final interim  extension was  about  to end  in

          October,  1994,  Defendants-Appellees removed  Donoghue's surname

          from   Donoghue's  MoneyLetter,  making   the  new  title  simply
                 _______________________

          MoneyLetter.    The name  of  the  corporate subsidiary  remained
          ___________

          IBC/Donoghue, Inc., however, and MoneyLetter continued to contain
                                           ___________

          references  to Donoghue  and  his name  within  the text  of  the

          newsletter.   For  example,  one section  of  the newsletter  was

          devoted to the "Donoghue Signal," a statistical measure of market

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          performance.   Also, MoneyLetter  was  labeled as  "a service  of
                               ___________

          IBC/Donoghue, Inc." on the  bottom of the first page.  William E.

          Donoghue was  listed in the  masthead as "Founder  &amp; Contributing

          Editor" of MoneyLetter.
                     ___________

                    Defendants-Appellees  now  no  longer publish  anything

          with the name "William E. Donoghue" appearing in the  name of the

          publication,  but  they  do  market  publications  in  which  the

          corporate name IBC/Donoghue  is used within the title.   Examples

          are  IBC/Donoghue's  Money  Fund Average,  IBC/Donoghue's  Mutual
               ___________________________________   ______________________

          Funds Almanac, and IBC/Donoghue's Money Fund Directory.  IBC  USA
          _____________      ___________________________________

          has not paid Donoghue any royalties (under either the $1,000-per-

          year or the 5% provision) since October of 1994.



          E.  Other Developments
          E.  Other Developments

                    The precipitating  event for the current  civil action,

          however,  was not the use of Donoghue's  name in the name or text

          of any newsletter or  the nonpayment of royalties but  rather the

          use  of Donoghue's  name  and likeness  in promotional  materials

          advertising MoneyLetter.
                      ___________

                    In  December   1994,  IBC   USA  sent  a   direct  mail

          advertisement for MoneyLetter to the general investing public and
                            ___________

          the  professional investment  community.   The envelope  in which

          this  mailing   was  sent  featured  a   photograph  of  Donoghue

          purportedly gesturing at advertisements of five large mutual fund

          companies.   Above the photograph  was a statement  in large type

          and in quotation marks:  "I'm sick and tired of investors getting


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          ripped-off  by ads like these!"  There were similar statements in

          smaller type below the photograph and on the back of the envelope

          as well.  The district court found that Donoghue had neither made

          nor authorized any of  the statements on the envelope.   Donoghue
                                                                   ________

          v.  IBC/USA (Publications), Inc., 886 F. Supp. 947, 951 (D. Mass.
              ____________________________

          1995).

                    The district court also found that, "[w]hile [Donoghue]

          had  used strong language in the past to criticize techniques and

          motives of financial planners and  brokers, he had not previously

          criticized  mutual funds by name  in the manner  portrayed on the

          envelope."   Id.  Inside  the envelope was  a letter, purportedly
                       __

          signed by Donoghue, that further criticized the advertisements of

          such mutual  fund companies as Value  Line, Fidelity Investments,

          Dreyfus  Corporation,  Berger  Associates,  Inc.,   and  Scudder,

          Stevens &amp; Clark, Inc.  The district court found that Donoghue had

          not authorized this letter.  Id.
                                       __

                    Donoghue received two written complaints  regarding the

          direct  mail  advertisement--from  Berger  Associates,  Inc.  and

          Scudder,  Stevens &amp;  Clark, Inc.   App.  at 00304-09.   Moreover,

          Value Line  threatened litigation against Donoghue  and has since

          filed an action in federal court for the Southern District of New

          York  against IBC USA and IBC/Donoghue, Inc. claiming that it has

          been  injured   by  the  "explicitly  false,"   "deceptive,"  and

          "misleading"  statements in  the direct  mail campaign.   App. at

          00319.




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                    A  Forbes magazine columnist's comment, published under
                       ______

          the date  April 24,  1995, publicly  criticized Donoghue  for the

          statements  attributed  to him  in  this  MoneyLetter promotional
                                                    ___________

          mailing  and for continued promotion  of the "Donoghue Signal" by

          touting hypothetical results that would have been achieved had an

          investor used the "Donoghue  Signal" over a period commencing  in

          1980, even though the  "Donoghue Signal" was first  introduced in

          1988.   The  columnist observed  that  use of  such "back-tested"

          results  was inconsistent  with the  published views  of Donoghue

          himself.

                    Approximately  two weeks after  the publication  of the

          Forbes  piece, on  May  8, 1995,  Donoghue  commenced this  civil
          ______

          action, claiming infringement  of the trademark in his name under

          the Lanham Act, 15 U.S.C.    1125 (Count I); improper use of  his

          name and photograph in  violation of Mass. Gen. L.  ch. 214,   3A

          (Count II);  trademark infringement  under the common  law (Count

          III);  breach  of  contract,  including  the  obligation  to  pay

          royalties  (Count IV);  and violation  of Mass.  Gen. L.  ch. 93A

          (Count V).



                           II.  The District Court Decision
                           II.  The District Court Decision
                   of Donoghue's Motion for Preliminary Injunction
                   of Donoghue's Motion for Preliminary Injunction

                    Based  upon counts I and  II, Donoghue filed  on May 8,

          1995,  along  with  his  complaint,  a  motion  for  a  temporary

          restraining order  and a preliminary injunction.   Donoghue asked

          the court  to enjoin  the Defendants-Appellees  from distributing

          any newsletter, publication or promotional materials:

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                    upon which  the name  William E.  Donoghue or
                    any  variation  thereof  (including  but  not
                    limited to "Donoghue," the "Donoghue Signal,"
                    "IBC/Donoghue"   or   "IBC/Donoghue,   Inc.")
                    appears,  or   upon  which  any   picture  of
                    plaintiff William E. Donoghue appears . . . .


          App. at 00073.   The only ways in which  the Defendants-Appellees

          would  have been able to use Donoghue's name under this requested

          injunction would have been  as a by-line for an  article actually

          written  by Donoghue or in  the masthead of  MoneyLetter with the
                                                       ___________

          title "Founder &amp; Contributing Editor."

                    After  a hearing  on May 10,  1995, the  district court

          entered a  temporary restraining  order of  a more  limited scope

          than  Donoghue had  requested.   On May  26, 1995,  after further

          briefing by  the parties,  the district court  granted Donoghue's

          motion for a preliminary  injunction.  The Preliminary Injunction

          fashioned  by the  district  court, however,  like the  Temporary

          Restraining Order that preceded it, was significantly narrower in

          scope than Donoghue had requested.

                    Instead of granting a blanket prohibition on the use of

          Donoghue's  name,  the  district  court focused  on  the  alleged

          harmful activity of  the Defendants-Appellees.  As  a result, the

          court required only that the Defendants-Appellees:

                    1.  refrain from distributing to any customer
                    or  potential  customer  or anyone  else  any
                    advertising or promotional  materials or  any
                    other material in  which William E.  Donoghue
                    is  represented  as criticizing  or otherwise
                    commenting  on any specific  person or entity
                    and  any  other  material   which  represents
                    William E.  Donoghue as stating  things which
                    are inconsistent with his views as stated  in
                    his previously published material;

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                    2.  refrain from distributing to any customer
                    or potential customer or anyone else material
                    which   contains    William   E.   Donoghue's
                    photograph, portrait or likeness, without the
                    plaintiff's express prior written consent;

                    3.  refrain from distributing to any customer
                    or  potential  customer  or anyone  else  any
                    material  in  which  the  name   "William  E.
                    Donoghue" or any variation thereof appears in
                    the  title   of  the  material,   unless  the
                    defendants   pay   the  plaintiff   royalties
                    pursuant to [clause] 11 of the Personal Sales
                    [sic] Agreement.

          Donoghue v. IBC/USA  (Publications), Inc., 886  F. Supp. at  955.
          ________    _____________________________

          In fashioning  this Preliminary  Injunction,  the district  court

          properly considered  (1) the likelihood of  Donoghue's success on

          the merits; (2) whether  Donoghue would suffer irreparable injury

          if the injunction were not granted; (3) the injury to Defendants-

          Appellees  from  granting the  injunction;  and  (4) whether  the

          public interest  would be  adversely affected by  the injunction.

          See Keds Corp.  v. Renee Intern. Trading Corp., 888 F.2d 215, 220
          ___ __________     ___________________________

          (1st Cir. 1989).

                    We conclude that  the order of  the district court  was

          proper in the circumstances of this case.  Some of the supporting

          findings  and conclusions  of the  district court in  arriving at

          this order, however,  were possibly erroneous  and, in our  view,

          they were prematurely decided, as explained below.



                         III.  Contract Interpretation Issues
                         III.  Contract Interpretation Issues

          A.  Introduction
          A.  Introduction

                    When  a court  looks  to the  words  of a  document  to

          consider  the  meaning  of those  words  in  the  context of  the

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          agreement, the search is for manifested meaning, not a  privately

          held belief or  intent of  one party, not  communicated to  other

          parties  to the  bargain.   See  Rose-Derry  Corp. v.  Procter  &amp;
                                      ___  _________________     __________

          Schwartz, Inc., 193 N.E.  50, 52 (Mass. 1934).   Moreover, if the
          ______________

          parties execute two or more  documents, with a manifested  intent

          that  the documents  together express  their entire  agreement, a

          court reads  the documents together, rather  than construing each

          as if it  stood alone.  FDIC v. Singh, 977  F.2d 18, 21 (1st Cir.
                                  ____    _____

          1992).

                    In this  case, the  initial agreement was  expressed in

          the two documents dated July  28, 1989.  By their own  terms they

          manifest an  understanding that together  they completely express

          one  integrated  agreement.   For example,  clause  2 of  the SPA

          reads:

                    Other  Agreements.   Simultaneously  with the
                    _________________
                    Closing Seller  and Buyer shall  enter into a
                    Personal    Services    and   Non-Competition
                    Agreement substantially in the  form attached
                    as   Exhibit   2   (the  "Personal   Services
                    Agreement").

          App. at 00026.  Also, as previously noted, clause 3(m) of the SPA

          explicitly states  that the  rights to  use  Donoghue's name  are

          governed  by the  PSA.   Accordingly, we  read the  two documents

          together, as we  understand the  district court to  have done  as

          well,  when  searching for  manifested  meaning  relevant to  any

          existing dispute between the parties.



          B.  The District Court's Interpretation of the Royalty Provisions
          B.  The District Court's Interpretation of the Royalty Provisions



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                    The  statements of  the district  court explaining  its

          order  for entry  of the  Preliminary Injunction  are subject  to

          being interpreted as  including several distinct and  potentially

          significant  rulings as a matter of law,  all made as part of the

          court's reasoned decision to  grant the Preliminary Injunction in

          the precise terms fashioned.

                    We  discuss  these  rulings   separately  as  well   as

          together.   We have chosen the order in which we discuss them for

          convenience only; we explicitly  do not imply that this  order of

          consideration  is compelled  by precedent or  logic.   Indeed, we

          conclude that the  several rulings are interrelated  in ways that

          make it appropriate for  a court to  consider all of them  before

          deciding any.   Our separation of  the district court's  combined

          determination into four parts and our designation  of those parts

          as "First  Ruling," "Second Ruling," "Third  Ruling," and "Fourth

          Ruling" are our formulations made only to facilitate reference.

                    Moreover, the  phrasing of these four  rulings is ours,

          not  that of  the litigants.   We  have  chosen this  phrasing to

          express what we understand  to be the substantive content  of the
                       __                       ___________________

          determinations  of  the district  court,  explicit and  implicit.

          Each  of the parties to this appeal has chosen somewhat different

          phrasings, which we find  to be ambiguous.  Examples  include the

          contrasting statements of the  parties about whether the district

          court  ruled that a use of Donoghue's  name was:  (1) permissible

          without  regard  to whether  the use  would  result in  a royalty

          obligation, or  (2) permissible only on  condition that royalties


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          be  paid,  or (3)  permissible only  on  condition that  the user

          explicitly  acknowledge a  royalty obligation  (without, however,

          stating the precise conditions that would determine the  fact and

          the amount of the royalty obligation).

                    We  have chosen this  course of stating  our reading of

          the meaning of the district court's rulings, including reasonable

          inferences  about   implicit  assumptions  as  well  as  explicit

          declarations,  because the  scope of  this court's  authority and

          responsibility is not  limited to  choosing one or  the other  of

          partisan  descriptions of  the  district court's  reasoning.   We

          examine   that  reasoning  from   the  perspective  of  impartial

          appellate review, and not through partisan lenses.

                    First  Ruling.    The  district court  ruled  that  the
                    First  Ruling.

          agreement of  the parties was unambiguous--not  only with respect

          to  the scope and extent of the rights of Defendants-Appellees to

          use the name of William E. Donoghue but also with  respect to the

          amount of royalties they would have to pay as a result.

                    Second  Ruling.   The  district  court  ruled that  the
                    Second  Ruling.

          agreement unambiguously meant that Defendants-Appellees were free

          to remove Donoghue's name from the name of a product and continue

          to  use Donoghue's  name within  the text  of the product  and in

          materials marketing the product.

                    Third  Ruling.    The  district court  ruled  that  the
                    Third  Ruling.

          agreement unambiguously meant that, when  exercising their rights

          under the  Second  Ruling, Defendants-Appellees  would  incur  no

          obligation to pay any royalties during the second five-year term.


                                         -16-
                                          16














                    Fourth  Ruling.   The district  court implicitly  ruled
                    Fourth  Ruling

          that   the  agreement  authorized   Defendants-Appellees  to  use

          Donoghue's  name  in  the  corporate title  of  the  wholly-owned

          subsidiary, IBC/Donoghue, Inc.

                    In reaching the Second  and Third rulings, the district

          court  included,   as   steps   of   reasoning,   the   following

          interpretation of clause 11 of the PSA:

                      [Clause]  11 only  requires the  IBC/USA to
                    pay the  plaintiff royalties for  use of  the
                    plaintiff's name on  revenues received  "from
                    the  sale  . . .  of  products   or  services
                    including  such  name in  the  name thereof."
                                          ______________________
                    (Emphasis added.)  The plain language of this
                    provision does  not  require the  payment  of
                    royalties for use of  the plaintiff's name in
                    connection with the defendants'  products, as
                    long as the plaintiff's  name does not appear
                    in   "the  name"   of  the  products.     The
                    plaintiff's   argument   that   it  was   his
                    understanding   that   he  was   entitled  to
                    royalties for  all uses of his  name does not
                    alter the plain meaning  of [clause] 11.  "As
                    a  general  principle,   a  court   considers
                    extrinsic  evidence  to  discern intent  only
                    when   a   contract   term   is   ambiguous."
                    Massachusetts  Mun.  Wholesale  Elec. Co.  v.
                    _________________________________________
                    Danvers,  577 N.E.2d  283, 289  (Mass. 1991),
                    _______
                    citing Merrimack Valley  Nat'l Bank v. Baird,
                    ______ ____________________________    _____
                    363 N.E.2d  688 (Mass. 1977).   See also FDIC
                                                    ________ ____
                    v. Singh,  977 F.2d  18, 24 (1st  Cir. 1992).
                       _____
                    Because  [clause] 11  is not  ambiguous, this
                    court will not consider extrinsic evidence of
                    the parties' understanding.

          Donoghue v. IBC/USA (Publications) Inc., 886 F. Supp. 947, 951-52
          ________    ___________________________

          (D. Mass. 1995).

                    Donoghue  contended that  this  interpretation  was  in

          conflict with both  the PSA and the interim amendment  to the PSA

          executed July 21, 1994.  In the next paragraph of its Memorandum,

          however,  the district  court  rejected the  contention that  the

                                         -17-
                                          17














          July 21, 1994 amendment was inconsistent with the court's reading

          of the agreement.

                      The plaintiff  claims that [clause]  11 was
                    changed  by  an  amendment  to  the  Personal
                    Services  Agreement,  dated  July  21,  1994.
                    That amendment allowed  IBC/USA to  "continue
                    to have the right to use the  name William E.
                    Donoghue  and variations  thereof  on  or  in
                    connection  with  the  existing  products  of
                    IBC/USA  without  payment  of  the  stated 5%
                    royalty   until  August   31,  1994."     The
                    plaintiff claims that this  amendment implies
                    that the  5% royalty was required  to be paid
                    on use  of the  plaintiff's name even  if the
                    name  did  not appear  in  the  title of  the
                    defendants' publications.   Otherwise, argues
                    the  plaintiff,  there  would  have  been  no
                    reason to  include the phrase  "in connection
                    with the existing products."  The  court does
                    not agree with the plaintiff's analysis.  The
                    language of the amendment tracks the language
                    of  [clause] 11,  which permitted  IBC/USA to
                    "use  the  name   William  E.  Donoghue   and
                    variations thereof  on or in  connection with
                    any  and  all  of the  existing  products and
                    services  of  IBC/USA."     The   amendment's
                    addition, "without  payment of the  stated 5%
                                                        _________
                    royalty"  clearly  refers   to  the   royalty
                    _______
                    provision of [clause] 11.  Rather than change
                    the circumstances giving rise to the right to
                    receive a royalty, the amendment only forgave
                    the   payment   of   royalties  which   would
                    otherwise have  been due under  paragraph 11,
                    i.e.,  royalties  flowing  from  the  sale of
                    ____
                    products  in  which   the  plaintiff's   name
                    appears in the name.   IBC/USA's right to use
                    the  name as  before continued.   The royalty
                    obligation  was  suspended  for   the  period
                    stated.

          Id. at 952 (emphasis  in original).  Because IBC USA  had removed
          __

          Donoghue's name from the title of MoneyLetter, the district court
                                            ___________

          concluded that  Donoghue was not  entitled to any  royalties even

          though his name was being used in the text of MoneyLetter through
                                                        ___________

          reference to such things as the "Donoghue Signal."


                                         -18-
                                          18














                    On the  other hand,  the district court  also concluded

          that  the use of the corporate name  IBC/Donoghue in the title of

          various   publications   (IBC/Donoghue's   Money  Fund   Average,
                                    ______________________________________

          IBC/Donoghue's  Mutual Funds Almanac  and IBC/Donoghue Money Fund
          ____________________________________      _______________________

          Directory)  was an invalid use  of Donoghue's name  under the PSA
          _________

          unless royalties  were paid.   This "unless" clause  implies that
          ___________________________

          the district court  made what  we have designated  as its  Fourth

          Ruling--Defendants-Appellees were authorized by the  agreement to

          use Donoghue's  name in the  corporate title of  the wholly-owned

          subsidiary, IBC/Donoghue, Inc.  Were this not so, the court would

          have needed to  determine the appropriate measure  of damages for

          breach of an obligation not to use Donoghue's name in a corporate

          title  rather than  declaring, as  it did  in the  passage quoted

          immediately below, that Defendants-Appellees could not escape the

          obligation (or  "requirement") of  paying royalties if  they used

          Donoghue's  name in this way  and other conditions  for a royalty

          obligation were satisfied:

                    The fact  that  the plaintiff's  name is  now
                    part of the corporate name of the entity that
                    was  sold  to  IBC/USA  does  not  permit the
                    defendants  to  escape the  Personal Services
                    Agreement's  requirement  of  the payment  of
                    royalties for use of the  plaintiff's name in
                    the  title  of the  defendants' publications.
                    The  plaintiff is thus  likely to  prevail in
                    establishing that the use  of his name in the
                    titles  of  these  publications  without  the
                    payment    of     compensation    constitutes
                    unauthorized use in contravention of [clause]
                    11.

          Id. at 953.
          __




                                         -19-
                                          19














          C.   Procedures  for Resolving  Disputes Over  the Meaning  of an
          C.   Procedures  for Resolving  Disputes Over  the Meaning  of an
               Agreement
               Agreement

                    How is a court to proceed when confronted with disputes

          between  parties about  the meaning  of  an agreement  they made?

          Does  it matter  that all  parties assert  that the  agreement is

          unambiguous, even  though they seek very  different rulings about

          what the agreement unambiguously means?

                    In our  description  of an  appropriate  procedure  for

          working  out an answer  to these questions in  this case, we need

          not and do not purport to decide that the method we describe here

          is appropriate for  all cases.  We do determine  that this method

          is appropriate for our review of the four rulings of the district

          court we have identified above.

                    In reaching  its First, Second, and  Third rulings, the

          district court excluded all consideration of  extrinsic evidence.

          In  support of this decision, the court cited "the parol evidence

          rule"  as  described  in the  following  maxim.    "As a  general

          principle, a court considers extrinsic evidence to discern intent

          only when a  contract term  is ambiguous."   Donoghue v.  IBC/USA
                                                       ________     _______

          (Publications) Inc.,  886 F. Supp. at  952 (quoting Massachusetts
          ___________________                         _______ _____________

          Mun. Wholesale Elec. Co.  v. Danvers, 577 N.E.2d 283,  289 (Mass.
          ________________________     _______

          1991)).    Although the  maxim is  acceptable  as a  statement of

          "general  principle,"  proceeding  on  the  assumption  that   no

          exception  applies to the case at hand  may lead to error, as the

          case now before us illustrates.

                    One exception to the general principle is that  a court

          may consider parol and extrinsic evidence for the very purpose of

                                         -20-
                                          20














          deciding whether  the documentary  expression of the  contract is

          ambiguous.  As this court has said once before:

                    In determining whether  an ambiguity  exists,
                                   _____________________________
                    as a matter of  law, the [trier] may consider
                    parol and extrinsic evidence.  If the [trier]
                    determines  that  the  contract  in  question
                    contains  no ambiguity, then  no extrinsic or
                    parol evidence  is [to be considered  by] the
                    trier of fact . . . .

          Boston Edison  Co. v. F.E.R.C., 856  F.2d 361, 367  n.3 (1st Cir.
          __________________    ________

          1988)(quoting Sunstream  Jet Express,  Inc. v. Int'l  Air Service
                _______ _____________________________    __________________

          Co., 734 F.2d 1258, 1268 (7th Cir. 1984))(emphasis added).
          ___

                    A second exception to  the general principle flows from

          the   recognition  that  ambiguity   is  not   an  all-or-nothing

          characteristic of any set of words and phrases.  An agreement may

          be ambiguous  in one  respect and  clear in  another.  The  legal

          consequences that flow from a  determination of ambiguity in  one

          respect do  not automatically  apply to  a  dispute over  another

          matter as to which the agreement is clear.

                    In  other  words,  a  party claiming  to  benefit  from

          clarity  of an  agreement in  relation to  one kind  of potential

          dispute about meaning must  show that there is an  actual dispute

          between  the parties  about the  meaning of  the agreement  as to

          which the  asserted clear provision  is relevant.   Clarity about

          some   hypothetical  issue   not   in   dispute  is   irrelevant.

          Conversely,  a  party claiming  to  benefit  from ambiguity  (for

          example,  by  being   allowed  to   proffer  extrinsic   evidence

          supporting its interpretation) must show ambiguity in the meaning

          of  the  agreement with  respect to  the  very issue  in dispute.


                                         -21-
                                          21














          Demonstration of ambiguity  in some respect  not material to  any

          existing dispute serves no useful purpose.

                    Because  ambiguity  in  relation to  some  hypothetical

          dispute  that  has not  arisen  as  an  existing  controversy  is

          immaterial, a court's determination regarding any ambiguity  that

          will make a difference  in outcome must be made  with sensitivity

          to what are  the existing  genuine disputes  between the  parties

          (real and not merely hypothetical controversies).  Only by having

          this understanding can  a court begin to  consider with precision

          and  particularity  the  alternative  meanings  proposed  by  the

          disputing parties.

                    Thus, if  either or both  of the parties  proposes that

          extrinsic evidence should be received and considered by the court

          or by the finder of  facts (the jury in a jury trial or the judge

          as finder of facts in a nonjury proceeding), concrete proffers of

          the proposed extrinsic evidence are important aids to the court's

          performing  its function of  determining both whether  there is a

          material ambiguity in the language  of the agreement and whether,
          ________

          for that reason or  for some other reason, extrinsic  evidence is

          admissible  and sufficient  to present  a genuine  dispute to  be

          resolved by a  finder of facts.   It will sometimes  be virtually

          impossible for  a court  to determine  with confidence whether  a

          contract is ambiguous in a material respect  or whether extrinsic

          evidence  should be admitted unless the court first knows what is

          the  proffered  extrinsic  evidence,  and  what  is  the  alleged

          ambiguity it allegedly addresses.


                                         -22-
                                          22














                    Although, at first glance, a court's proceeding in this

          way may seem  to subvert  the "general principle"  and the  parol

          evidence   rule  itself,   closer   examination  discloses   that

          proceeding in this way  facilitates decisions consistent with the

          principle,  the   rule  itself,  and   their  underlying   policy

          foundations.   A  key point  is that courts  consider contentions

          regarding  ambiguity or lack of ambiguity not in the abstract and

          not in relation to hypothetical disputes that a vivid imagination

          may conceive but  instead in relation to  concrete disputes about

          the  meaning  of   an  agreement  as   applied  to  an   existing

          controversy.  Often  the existing controversy arises  from a turn

          of events that  was not foreseen and addressed  by the parties in

          their negotiations.

                    When  invoking  a  standard   of  materiality  of   any

          demonstrated ambiguity and reviewing proffered extrinsic evidence

          to determine whether that standard of materiality has been met, a

          court is proceeding  in a way compatible both  with Massachusetts

          law and with the  views of distinguished commentators on  the law

          of contracts.   The Supreme Judicial  Court of Massachusetts  has

          held that  "[a  contract] is  to  be read  in  the light  of  the

          circumstances of its execution, which may enable the court to see

          that its words are  really ambiguous."  Robert Indus.  v. Spence,
                                                  _____________     ______

          291 N.E.2d 407,  409 (Mass. 1973).  In  another case, the Supreme

          Judicial Court  affirmed the judgment of a trial court, observing

          that "[t]he judge  quite properly  heard evidence to  aid in  the

          construction of the agreement, even before he decided whether the


                                         -23-
                                          23














          agreement was ambiguous."  Cullinet Software, Inc. v. McCormack &amp;
                                     _______________________    ___________

          Dodge Corp., 511 N.E.2d 1101, 1102 (Mass. 1987).
          ___________

                    These Massachusetts decisions comport with the views of

          Professors Corbin and Farnsworth.  "The writing can not prove its

          own  completeness and  accuracy .  . .  . The  evidence that  the

          [parol evidence]  rule seems to  exclude must sometimes  be heard

          and weighed  before it can be  excluded by the rule."   Arthur L.

          Corbin, Corbin on Contracts   582 at 448-50 (1960), quoted in, E.
                  ___________________                         ______ __

          Allan Farnsworth, Contracts   7.3 at 474 (2d ed. 1990).
                            _________



          D.   Unresolved  Issues  Regarding   Ambiguity  and   Potentially
          D.   Unresolved  Issues  Regarding   Ambiguity  and   Potentially
               Admissible Extrinsic Evidence in This Case.
               Admissible Extrinsic Evidence in This Case.

                    The manifested meaning of the agreement of the parties,

          as interpreted by  the district  court in the  passages from  its

          Memorandum of Findings of  Fact and Conclusions of Law  quoted in

          Part III.B above,  satisfied none  of the parties  to this  case.

          Donoghue had  sought to  bar the Defendants-Appellees  from using

          his name at all without permission and payment of the 5% royalty.

          The Defendants-Appellees, on the  other hand, contended that they

          were  licensed to use Donoghue's  name freely in  any manner they

          chose, as part of the official name of the wholly-owned corporate

          subsidiary  as well as in publications.  They also contended that

          they  would  incur  royalty  obligations only  if  variations  of

          "William  E.  Donoghue"   (argued  as  including   only  "William

          Donoghue,  Bill Donoghue,  Will Donoghue,  Billy  Donoghue, etc."

          App. at 00683) were used in the title of a publication.



                                         -24-
                                          24














                    The  proffered interpretations  of the  parties are  at

          polar extremes;  the district  court's interpretation,  though at

          neither pole, is closer to Donoghue's proposed interpretation.

                    These possible interpretations do not exhaust  the list

          of  plausible  possibilities,  however.    We  add  one  more  to

          illustrate the  point, making  clear, however,  that  we are  not

          making any ruling as  to the correct interpretation at  this time

          and do not mean our illustrative  suggestion to be given any more

          or different consideration in further proceedings than that given

          to   other   plausible   interpretations   of   the   documentary

          manifestations of the agreement of the parties.

                    The   possible  interpretation   we  suggest   is  that

          Defendants-Appellees  were not free to change only the title of a

          product and nothing more, then continue to use Donoghue's name as

          before in the text  of the product, or packaging,  or promotional

          materials, and  thereby escape the royalty  obligation they would

          have had  if Donoghue's name  had remained  in the  title.   This

          possible  turn of events was not explicitly addressed in the text

          of either the SPA or the PSA.

                    In thinking about whether  there was in the transaction

          as a  whole an implicit answer  for each turn of  events that has

          occurred,  one may consider what  most likely would have happened

          if  a  negotiator  had  explicitly  called  attention to  such  a

          possibility  during  negotiations.     For  example,  suppose   a

          negotiator for the parties now designated as Defendants-Appellees

          had stated during negotiations  that they understood the proposed


                                         -25-
                                          25














          agreement  to be  that  they would  no  longer have  any  royalty

          obligation  if they just deleted the Donoghue name from the title

          of the product and continued to use the  Donoghue name within the

          text of the product  and in advertizing the product.   Unless one

          can   reasonably  say  it   is  likely   this  statement   of  an

          understanding not previously  expressed would have  been accepted

          and negotiations would have proceeded unruffled, the reasoning of

          the district court about what the parties' agreement in this case

          unambiguously  means is unpersuasive.

                    Of  even greater  moment  in relation  to the  existing

          controversy between the parties in this case  is that a reader of

          the full text of the two documents executed by the parties  might

          reasonably conclude that the parties had not explicitly addressed

          another possible turn of events that later did  occur -- that IBC

          USA would  decide to  create a  wholly-owned  subsidiary and  use

          "Donoghue"  in  its  corporate name.    Suppose  IBC USA,  during

          negotiations, had openly  stated that it would interpret  the two

          documents together, as then drafted, to grant it the right to use

          "Donoghue" in a new corporate entity's name (and to do so without

          any royalty obligation as long as IBC USA and its  subsidiary did

          not  include  "Donoghue"  in  the  name of  a  product).    Is it

          reasonable  to  believe that  such  a statement  would  have been

          accepted  by Donoghue,  without incident,  so negotiations  would

          then have proceeded unruffled?

                    We believe that it is more appropriate at this time not
                                                                        ___

          to determine whether  the agreement is ambiguous in  any material
                                                                   ________


                                         -26-
                                          26














          respect, not to determine whether or not extrinsic evidence about
                   ___

          the manifested meaning may be received, and not to make any final
                                                      ___

          resolution  of   the  dispute  between  the   parties  about  the

          manifested meaning of  the agreement.   Those matters are  better

          left  to decision after the district court has before it proffers

          of proposed extrinsic evidence that might be admissible and might

          bear upon the final  decision about meaning in some  respect that

          is material to  an existing  controversy and not  merely to  some

          hypothetical  dispute.   The  district court  can  then make  the

          decision  with  the benefit  of a  precise  focus on  proffers of

          extrinsic evidence proposed for admissibility  and consideration.

          Also, the court  will have more assurance that  the case is being

          decided on the merits and in a way consistent with the objectives

          underlying  the parol  evidence  rule and  the general  principle

          regarding use of extrinsic evidence in determining the meaning of

          an integrated agreement.

                    Thus, our affirmance of the district court's order does

          not  imply  approval of  the court's  reasoning  that the  PSA is

          unambiguous and what  it means  as to the  rights of  Defendants-

          Appellees  to use Donoghue's name  and as to  their obligation to

          pay royalties  (previously designated as Ruling  One, Ruling Two,

          Ruling  Three, and  Ruling Four).   We  conclude that  the issues

          regarding the scope  of the right to use  Donoghue's name and the

          rights  to royalties  should  not have  been  decided before  the

          parties  had  a reasonable  opportunity  to  develop the  factual

          record more fully.  We  explicitly do not make any rulings  as to
                                                ___


                                         -27-
                                          27














          the alleged ambiguity of the contract on any material issue or as

          to  whether extrinsic  evidence  may  appropriately be  received.

          Those  decisions  must be  made, in  the  first instance,  in the

          district  court, after  opportunity  for the  parties to  proffer

          whatever  extrinsic  evidence they  rely  upon  to support  their

          various contentions.



                     IV.  Support for the Preliminary Injunction
                     IV.  Support for the Preliminary Injunction
                                 on the Terms Stated
                                 on the Terms Stated

          A.  Conduct Enjoined
          A.  Conduct Enjoined

                    Notwithstanding  our  determination  that some  of  the

          conclusions  reached by  the  district court  were premature,  we

          affirm the Preliminary Injunction  as entered.  We do  so because

          there  is  ample   support  elsewhere  in  the   record  for  the

          Preliminary Injunction as fashioned by the district court.

                    The  Preliminary  Injunction  prevents the  Defendants-

          Appellees from  (1) distributing  materials in which  Donoghue is

          represented as criticizing a specific person or entity or stating

          things inconsistent  with his  published views;  (2) distributing

          materials  with Donoghue's  photograph  or  likeness without  his

          prior written consent; and (3) using Donoghue's name in the title

          of a  publication  unless  royalty  payments  are  made.    These

          prohibitions are not very  onerous, and the findings of  fact and

          conclusions of law  of the  district court, apart  from those  we

          have  determined  to be  premature,  amply  support granting  the

          Preliminary Injunction to the extent allowed.



                                         -28-
                                          28














                    First,  the district  court  found that  Donoghue is  a

          nationally known  investment advisor who  has a reputation  as an

          expert in mutual and money market  funds.  As a result, the court

          concluded that Donoghue's name was worthy of trademark protection

          under the Lanham Act, 15  U.S.C.   1125(a).  Specifically  citing

          this  court's decision in Boston Beer Co. v. Slesar Bros. Brewing
                                    _______________    ____________________

          Co., 9 F.3d  175 (1st  Cir. 1993), the  district court  concluded
          ___

          that  Donoghue's name  had  acquired "secondary  meaning."   And,

          because  "[t]he  likelihood of  confusion  in  the public's  mind

          occasioned  by an unauthorized use of the plaintiff's name by the

          defendants is clear . . . any unauthorized use of the plaintiff's

          name by  the defendants would  constitute an infringement  of the

          plaintiff's  trademark  in  his   name."    Donoghue  v.  IBC/USA
                                                      ________      _______

          (Publications) Inc., 886  F. Supp.  at 953.   Thus, Donoghue  was
          ___________________

          likely to prevail on Count I of his complaint.

                    Second, the  district court  found that  the statements

          attributed to Donoghue  in the December 1994 direct  mailing were

          not  consistent with  his  previous writings  and his  investment

          philosophy.  Id.  As there was a specific consistency requirement
                       __

          in  Exhibit 12  to  the  PSA,  App.  at  00057,  such  attributed

          statements were unauthorized.  Thus, the district court concluded

          that Donoghue was  likely to  prevail on his  breach of  contract

          claim (Count IV).

                    Third, the district  court concluded that Donoghue  was

          likely to prevail on his claim that the Defendants-Appellees used

          his name and photograph  in a manner that violated  Mass. Gen. L.


                                         -29-
                                          29














          ch. 214    3A (Count II).   The section of the  statute quoted by

          the district court reads:

                    Any person whose name, portrait or picture is
                    used within the commonwealth  for advertising
                    purposes or for the purposes of trade without
                    his written consent may  bring a civil action
                    in the  superior court against  the person so
                    using  his  name,  portrait  or  picture,  to
                    prevent and restrain the use thereof . . . .

          Mass. Gen.  L. ch. 214   3A.   The court found  that "[w]hile the

          plaintiff  previously  authorized  the  defendants'  use  of  his

          picture, it is  clear that he does  not do so now."   Donoghue v.
                                                                ________

          IBC/USA  (Publications),  Inc.,  886  F.  Supp.  at  954.   Thus,
          ______________________________

          Donoghue was likely to prevail on Count II.

                    Finally,  the  district   court  rejected   Defendants-

          Appellees' affirmative defense that Donoghue had "unclean hands."

          Under  the precedent of this  circuit, a district  court has wide

          discretion  in deciding  whether  to bar  recovery  based upon  a

          plaintiff's alleged "unclean  hands."  K  Mart Corp. v.  Oriental
                                                 _____________     ________

          Plaza, Inc., 875 F.2d 907, 912 (1st Cir. 1989)(citing Codex Corp.
          ___________                                    ______ ___________

          v. Milgro Elec. Corp., 717  F.2d 622, 633 (1st Cir.  1983), cert.
             __________________                                       _____

          denied, 446  U.S. 931 (1984)).   Given  the record before  us, we
          ______

          cannot  say   that  the   district   court's  finding   regarding

          Defendants-Appellees'   unclean   hands   defense   was   clearly

          erroneous.

                    Thus,  there  is  ample  support in  the  record  for a

          Preliminary Injunction as entered in this case.  Although we have

          determined that a few of  the rulings made by the district  court




                                         -30-
                                          30














          were premature, these rulings,  if error either on the  merits or

          because prematurely decided, were only harmless error.



          B.  Rejection of Other Injunctive Relief
          B.  Rejection of Other Injunctive Relief

                    Plaintiff-Appellant Donoghue has appealed the  order of

          the  district court  because  he had  requested  a more  sweeping

          preliminary  injunction  than  the  one granted.    We  conclude,

          however, that  just as there is  ample support in the  record for

          the relief  ordered in  the Preliminary  Injunction, so  also are

          there sound reasons for not ordering relief of greater scope.

                    Donoghue contends that the Defendants-Appellees are not

          allowed to use  his name even in the text  of publications and in

          promotional  materials; his  motion for a  preliminary injunction

          requested  that the district court  so order.   App. at 00072-73.

          Donoghue admits, however, that Defendants-Appellees are permitted

          to use his name in the title of publications as long  as they pay

          him the required  5% royalty.   He also  admits that  Defendants-

          Appellees  are  permitted  to  use his  name  in  the  text of  a

          publication if his name is also in the title of that publication.

                    Thus, Donoghue's argument for greater injunctive relief

          than that granted  can be  seen as an  argument that  Defendants-

          Appellees  are not  permitted to use  his name  in the  text of a

          product unless his  name appears in the title  of that product as

          well.   And  because  any use  of  his name  in  the title  of  a

          publication requires a royalty  payment, Donoghue is thus arguing

          that any  authorized use of his name in the text of a publication


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          requires a royalty  payment.   The harm, then,  that Donoghue  is

          seeking to prevent by his request for a more sweeping preliminary

          injunction  is primarily,  if  not entirely,  delayed receipt  of

          royalty payments--a kind of harm ordinarily redressed by an award

          of monetary  damages.   "But  an  entitlement to  money  damages,

          without more, rarely constitutes an adequate basis for injunctive

          relief."  CMM Cable  Rep., Inc. v. Ocean Coast  Properties, Inc.,
                    _____________________    _____________________________

          48 F.3d 618, 622 (1st Cir. 1995).

                    We conclude  that the district  court did not  make any

          error of law  or clearly erroneous finding  of fact, and  did not

          abuse its discretion  in determining that Donoghue  has not shown

          that  irreparable  harm will  result from  a  failure to  enter a

          preliminary  injunction as broad as he seeks.  The district court

          supportably determined  that if  an entitlement to  money damages

          accrues during  the pendency of this litigation, a monetary award

          at the conclusion of the case will be an adequate remedy.



                                    V.  Conclusion
                                    V.  Conclusion

                    For the  reasons explained in Parts  I-III, we conclude

          that the record  before the  district court when  it ordered  the

          Preliminary  Injunction and now before us  is insufficient for us

          to determine whether  the four rulings  identified in Part  III.B

          were erroneous as  a matter of law.   Therefore, we explicitly do

          not rely  on these  rulings in  reaching our  decision.  We  also

          determine, however, for the  reasons stated in Part IV,  that the

          order for entry of the Preliminary Injunction on the terms stated


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          was adequately supported by other findings and conclusions of the

          district court.  That  being so, we conclude  that the errors  of

          law,  if any,  in the  four rulings  identified were  harmless in

          relation to the issues before us in this appeal.

                    The district court's order for entry of the Preliminary

          Injunction is 

                    AFFIRMED.
                    AFFIRMED








































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